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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    CASE NO.: 1:21-CR-00254
                                    :
v.                                  :
                                    :
FRANK J. SCAVO,                     :
                                    :
            Defendant.              :
____________________________________:

          NOTICE OF WITHDRAWAL AND CONTINUATION OF COUNSEL

TO THE CLERK OF THE COURT AND ALL PARTIES OF RECORD:

       PLEASE TAKE NOTICE that Abigail E. Ticse hereby withdraws her appearance as

counsel of record for Defendant Frank J. Scavo.

       PLEASE TAKE NOTICE that M. Evan Corcoran of Silverman Thompson Slutkin &

White, LLC remain counsel of record for Defendant Frank J. Scavo.

Dated: June 2, 2021                         Respectfully submitted,


                                               /s/ Abigail E. Ticse
                                            Abigail E. Ticse (D.C. Bar No. 187655)
                                            SILVERMAN THOMPSON SLUTKIN WHITE, LLC
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                                            Baltimore, Maryland 21201
                                            Telephone: (410) 385-2225
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                                            Email: aticse@silvermanthompson.com

                                            Counsel for Defendant




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 2nd day of June, 2021, a copy of the foregoing Notice of

Withdrawal and Continuation of Counsel was electronically filed with the Clerk of Court by using

the CM/ECF system, which will furnish electronic copies to all counsel.


                                                   /s/ Abigail E. Ticse
                                            Abigail E. Ticse (D.C. Bar No. 187655)




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